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   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  12    VERNE RAYMOND ORLOP, JR.,                   Case No. 5:19-cv-02314-JFW (SHK)

  13                                  Petitioner,
                                                    ORDER ACCEPTING FINDINGS
  14                       v.                       AND RECOMMENDATION OF
                                                    UNITED STATES MAGISTRATE
  15    WARDEN,                                     JUDGE
  16                                Respondent.
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  18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the
  19   relevant records on file, and the Report and Recommendation of the United States
  20   Magistrate Judge. No objections have been filed. The Court accepts the findings
  21   and recommendation of the Magistrate Judge.
  22         IT IS THEREFORE ORDERED that the Petition be DENIED and that
  23   Judgment be entered DISMISSING this action without prejudice.
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  25   Dated: October 15, 2020
  26                                        HONORABLE JOHN F. WALTER
                                            United States District Judge
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